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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,                 )
                                          ) Case No. 1:08-cr-026
              Plaintiff,                  )
                                          ) ORDER GRANTING
       vs.                                ) A REQUEST FOR
                                          ) MODIFICATION OF THE
Micheal L. Fisher, Amiel Clyde Frank, and ) PROTECTIVE ORDER
Fisher Sand and Gravel Co., Inc.,         )
                                          )
              Defendants.                 )
________________________________________________________________________________

       The attorney for defendant Fisher Sand and Gravel Co., Inc. has moved the court for an order

permitting disclosure of grand jury, tax return, and other discovery information that is already the

subject of court’s amended protective order dated January 16, 2009, to counsel for Tom Fisher, the

President of defendant Fisher Sand and Gravel Co. The Government opposes the motion.

       To the extent that the Government objects to the disclosure of the tax return information for

Fisher Sand and Gravel, Co. based on federal statute, the request by counsel for Fisher Sand and

Gravel Co., Inc. that the material be disclosed to Tom Fisher’s attorney is a sufficient waiver of any

right of confidentiality of the corporation. In any event, the court concludes that disclosure is

warranted under 26 U.S.C. § 6103(h)(4)(D) subject to the conditions set forth later herein, since it

is obvious that the disclosure is in connection with a judicial proceeding, notwithstanding the

Government’s claims to the contrary. Further, the disclosure of the information benefits the

corporation as well Fisher personally for reasons discussed next in connection with the disclosure

of the discovery information.

       With respect to the non-grand jury discovery information, the court has already entered its

standard order for discovery, which, as pointed out in a prior order, was not objected to the

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Government and which provides, among other things, for early disclosure of certain of the

discovery information. And, since the material has already been made available to Tom Fisher as

president of defendant Fisher Sand and Gravel, Co., the court has little trouble concluding that good

cause exists for disclosure to his attorney within the meaning of Fed. R. Crim. P. 16(d)(1) provided

the disclosure is subject to the conditions set forth later herein.

        This is particularly true if Tom Fisher is going to be interviewed by the Government as the

briefing suggests. Why, at that point, everyone in the room should have knowledge and access to

the material, including Tom Fisher, but not his attorney, makes no sense. Is the Government

suggesting that Tom Fisher cannot orally relay to his attorney what he has read and reviewed in the

material already provide to him? And, if not, then what is the practical difference? Further, if an

interview takes place and Tom Fisher is shown a protected document, is the Government suggesting

that his attorney will not be able to look at it? Will he then have to leave the room anytime protected

information is discussed? If Tom Fisher’s attorney is going to present for the interview, it seems

that the Government would want a protection order in place to facilitate the interview and to protect

the Government from unauthorized disclosures.

        Further, aside from any interview, the interest of Tom Fisher in not becoming another

criminal defendant is not the only interest at stake. A corporate officer in Fisher’s situation will

likely have to deal with competing interests as this case progresses that include his duties to the

defendant corporation. The ability to obtain confidential advice from private counsel will assist

Fisher in dealing with these competing interests and properly fulfilling his duties to the defendant

corporation. In that sense, the defendant corporation benefits from Fisher having counsel in addition

to corporate counsel.



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       Also, counsel can assist in insuring that Fisher provides accurate information at all stages

of the proceeding. Certainly, everyone benefits from accurate information being conveyed,

including the Government.

       Perhaps a closer question is the risk inherent in the further dissemination of the grand jury

information, which the court is obligated to protect. Nevertheless, the same reasons expressed for

allowing disclosure of the discovery information apply here as well in terms of balancing the

competing interests and satisfying the requirements of Fed. R. Crim. P. 6(e)(3)(E)(i). In addition,

the Government has made no showing that Fisher’s private counsel is untrustworthy, and the

concerns of secrecy can reasonably be addressed by a modified protective order together with

counsel’s agreement to abide by it and consent to this court’s jurisdiction for any violations and

enforcement.

       Based on the forgoing, the court will permit disclosure of the material that is already the

subject of the existing protective order to counsel for Tom Fisher subject to counsel’s execution of

a properly worded agreement to abide by a further modified protective order that permits such

disclosure along with a consent subjecting himself to the jurisdiction of this court for any violation

and enforcement of the order.

       The parties shall have five days to submit drafts of the appropriate documents to the court.

Otherwise, the court will develop its own modified order and agreement and consent form for

Fisher’s counsel.

       IT IS SO ORDERED.

       Dated this 3rd day of March, 2009.

                                               /s/ Charles S. Miller, Jr.
                                               Charles S. Miller, Jr.
                                               United States Magistrate Judge

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